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EXHIBIT U
Case 3:09-cv-05191-CRB Document127-21 Filed 01/21/11 Page2of4

Brenner, Wendy

From: Raziya Brumfield [rbrumfield@dralegal.org]
Sent: Tuesday, January 11, 2011 3:51 PM

To: Brenner, Wendy; Tenhoff, Gregory

Ce: Anna Levine; Larry Paradis; Karla Gilbride
Subject: Enyart v. NCBE

Attachments: Letter.to.NCBE.1-11-11.pdf

Attached please find correspondence from Anna Levine regarding the above referenced matter.

Best,

Raziya Brumfield

Disability Rights Advocates

2001 Center Street, Third Floor
Berkeley, California 94704-1204

510 665 8644 ext. 173(Tel)
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Palo Alto, CA 94306-2155

January 11, 2011

Re: Enyart v. National Conference of Bar Examiners
Proposed Preliminary Injunction Order

Dear Wenay,

This letter responds to NCBE’s offer regarding alternatives to the
availability of someone with administrative privileges, which you
conveyed via telephone, today, following the conversation between the
parties’ technical advisors on Friday, January 7, 2011.

In our telephone call, you explained that NCBE’s understanding is that
no one knows what caused the problems that Stephanie described on
the July and August exam administrations; that the problem would not
have been fixed by the availability of someone with administrative
privileges; and that the problem was resolved, because Stephanie was
able to finish the exam. You indicated that what NCBE is willing to offer
is the following:

(1) An additional conversation between the parties’ technical
advisors, so long as the technical person is the same person who
will assist Stephanie during her set-up and testing of the laptop
and peripherals on February 17, 2011;

(2) For NCBE to test the laptop with Stephanie’s peripherals
(monitor, keyboard, and mouse), if she will ship them, or if she
will designate their make and model, to test the laptop with the
same make and model peripherals insofar as they are available.

| asked if NCBE is willing to take responsibility for the working order of
the hardware and software, such that when Stephanie sets up the
laptop with her peripherals and it is not in working order, NCBE will be
in violation of the court’s order. You responded that NCBE absolutely is
unwilling to agree to such a condition. You indicated that the language
of the order would instead need to be the same as that negotiated for
the purpose of prior orders: that NCBE does not guarantee the
interoperability of
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Stephanie's peripherals with the computer it provides. You reiterated that when the
laptop leaves NCBE, it will be in working order, and that NCBE will not guarantee that it
works once Stephanie adjusts it to her settings and sets up her peripherals.

NCBE’s two counter-proposals do not address the problems with NCBE’s laptop during
Stephanie's prior exam administrations. More to the point, we seem to be unable to
come to agreement about NCBE's responsibility to address such problems if and when
they do occur. Because of this fundamental disconnect, our client will not accept
NCBE’s proposals.

As we indicated in our letter of January 5, 2011, failing our preference to resolve all
issues regarding accommodations on the February MBE by stipulation, Stephanie will
move for an injunction, now by January 14, 2011, as provided in the court's order
granting our Motion to Shorten Time, to get the accommodations she needs in place in
time for the February test administration.

With our January 5, 2011 letter, we provided both a draft stipulation that encompassed
the question of administrative privileges, and one that addressed all other issues, while
reserving Stephanie’s right to pursue the question of administrative privileges by motion
to the court. On January 6, 2011, you informed me that you would be getting comments
regarding the draft stipulation from your client the following day, and were marking up
the “motion” version. To date, we have not received any revised draft stipulation from
NCBE. Please let us know whether you will sign the “motion” stipulation, once again
attached, or whether Stephanie needs to pursue her other accommodations with the
court, as well.

Sincerely,

Lb. b——

Anna Levine

Enclosure (1)
